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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXASE§ ii §§ §§ ,_§U F§,=; ,::: 35

DALLAS DlylsIoN
UNITED sTATEs oF AMERICA No. 3:17-CR-381'§€M`f""-Q,L&F`
V. (Supersedes Indictment

Returned on July 25, 2017)
DARIUS FIELDS (1)

LAPoRCHYA sHAyoN PoLLEY (2)

SUPERSEDING INDICTMENT
The Grand Jury Charges: v
Count One
Acquiring a Firearrn from a Licensed Firearms Dealer
by False or Fictitious Statement
(Violation of 18 U.S.C. §§ 922(a)(6), 924(a)(2), and 2)
Introduction

At all times material to this Superseding Indictment:

l. 18 U.S.C. § 922(a)(6) makes it a crime for anyone to make a false or
fictitious oral or Written statement to a licensed firearms dealer in order to acquire a
firearm. The elements of this offense are: (l) that the defendant made a false or fictitious
oral or Written statement While acquiring a firearm from a licensed firearms dealer; (2)
that the defendant knew that the statement Was false or fictitious; and (3) that the
statement Was intended or Was likely to deceive the dealer about a material fact, that is,
one Which Would affect the legality of the sale to the defendant 18 U.S.C. § 2 punishes

anyone Who (l) commits an offense against the United States; (2) aids, abets, counsels,

commands, induces, or procures another to commit an offense against the United States;

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or (3) willfully causes an act to be done which if directly done by him or another would
be an offense against the United States.

2. The term “firearm” means any weapon that will or is designed to or may
readily be converted to expel a projectile by the action of an explosive. The term
“firearm” also includes the frame or receiver of any such weapon, or any firearm muffler
or firearm silencer, or destructive device. A statement is “false or fictitious” if it was
untrue when made and was then known to be untrue by the person making it. A false
statement is “likely to deceive” if the nature of the statement, considering all of the
surrounding circumstances at the time it is made, is such that a reasonable person of
ordinary prudence would have been actively deceived or misled.

3. Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) Form
4473, Firearrns Transaction Record, must be completed by the prospective purchaser to
affect the sale of a firearm from a licensed firearms dealer. Specifically, Question lla
requires the prospective purchaser to certify_under penalty of law_if he or she is “the
actual transferee/buyer of the firearm(s) listed on this form,” which is a fact material to
the lawfulness of the firearm sale. If a person purchases a firearm for someone else but
claims that he or she is “the actual transferee/buyer of the listed firearm(s),” the firearm
acquisition is called a “straw purchase” and this conduct is also called “lying-and-
buying,” which is a violation of 18 U.S.C. § 922(a)(6).

4. DFW Gun Range, located at 1607 West Mockingbird Lane, Dallas, TeXas,

was a licensed firearms dealer within the meaning of Chapter 44, Title 18, United States

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Code, at all times specified in this Superseding Indictment.

5. On or about May 31, 2017, in the Dallas Division of the Northem District
of Texas, the defendants, Darius Fields and LaPorchya Shavon Polley, aiding and
abetting one another, in connection with the acquisition of a firearm, to wit: a FN Herstal,
model Five-seveN 5 .7X28 millimeter handgun, bearing serial number 386308264, from
DFW Gun Range, a licensed dealer of firearms within the meaning of Chapter 44, Title
18 United States Code, knowingly made a false and fictitious written statement to DFW
Gun Range, which statement was intended and likely to deceive DFW Run Range, as to a
fact material to the lawfulness of such sale of said firearm to LaPorchya Shavon Polley
under Chapter 44 of Title 18, in that LaPorchya Shavon Polley did execute a Bureau of
Alcohol, Tobacco, Firearms, and EXplosives (“ATF”) Form 447 3, Firearms Transaction
Record, to the effect that she was the actual buyer of said firearm, when in fact as
LaPorchya Shavon Polley then knew that she was not the actual buyer of the firearm.

In violation of 18 U.S.C. §§ 922(a)(6), 924(a)(2), and 2.

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Count Two
False Statement with Respect to Inforrnation Required to be
Kept in Records of a Licensed Firearms Dealer
(Violation of 18 U.S.C. §§ 924(a)(1)(A) and 2)

6. All information alleged in the Introduction for Count One is incorporated _
herein.

7. 18 U.S.C. § 924(a)(1)(A) makes it a crime for anyone to make av false
statement or representation with respect to the information required to be kept of a
licensed firearms dealer under Chapter 44, Title 18, United States Code. The elements of
this offense are: (l) that the defendant knowingly made a false statement or
representation; (2) that the defendant made the statement or representation to a licensed
dealer of firearms within the meaning of Chapter 44, Title 18, United States Code; and
(3) that the statement or representation pertained to information that the law requires the
licensed dealer to keep. Chapter 44, Title 18, United States Code, requires that a licensed
firearms dealer keep in its records the name and address of the actual transferee/buyer of
the firearm. Specifically, this information is recorded in Bureau of Alcohol, Tobacco,
Firearms, and Explosives (“ATF”) Form 4473, Firearms Transaction Record, which is a
record kept by the dealer as required by law.

8. On or about May 31, 2017, in the Dallas Division of the Northern District
of Texas, the defendants, Darius Fields and LaPorchya Shavon Polley, aiding and

abetting one another, knowingly made a false statement and representation to DFW Gun

Range, a person licensed under the provisions of Chapter 44 of Title 18, United States

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Code, to be kept in the records of DFW Gun Range, in that LaPorchya Shavon Polley
did execute a Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) Form
4473, Firearrns ,Transaction Record, to the effect that she was the actual buyer of a FN
Herstal, model Five-seveN 5.7x28 millimeter‘handgun, bearing serial number
386308264, whereas in truth and fact, she was not the actual buyer of this firearm.

In violation of 18 U.S.C. §§ 924(a)(1)(A) and 2.

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Count Three
Convicted Felon in Possession of a Firearm
(Violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2))

9. On or about June‘29, 2017, in the Dallas Division of the Northern District
of Texas, the defendant, Darius Fields, having been convicted of a crime punishable by
imprisonment for a term exceeding one year, that is, a felony offense, did knowingly and
unlawfully possess in and affecting interstate and foreign commerce a firearm, to wit: a
Romarn/Cugir, model Draco, 7.62x39 millimeter handgun, bearing serial number
DA9705-16RO; a FN Herstal, model Five-seveN 5.7x28 millimeter handgun, bearing

serial number 386308264; and 32 rounds of FNH USA 5.7x28 millimeter ammunition.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

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Forfeiture Notice
(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

10. Upon conviction for the offense alleged in Counts One, Two, Three and
Four of this Superseding Indictment, and pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. §
v 2461(c), the defendants, Darui`s Fields and LaPorchya Shavon Polley, shall forfeit to
the United States of America any firearm and ammunition involved in the commission of
the respective offense, including but not limited to the following:

(l) a Romarn/Cugir, model Draco, 7.62x39 millimeter handgun, bearing serial
number DA9705-16RO;

(2) one FN Herstal, model Five-seveN 5 .7x28 millimeter handgun, bearing serial
number 386308264; and

(3) any ammunition recovered with the firearms.

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A TRUE BILL
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

DARIUS FIELDS (1)
LAPoRCHYA sHAvoN PoLLEY (2)

 

SUPERSEDING INDICTMENT

18 U.s.c. §§ 922(3)(6), 924(3)(2), and 2

Acquiring a Firearm from a Licensed Firearrns Dealer
by False or Fictitious Statement

18 U.S.C. §§ 924(a)(1)(A) and 2
False Statement with Respect to Information Required to be
Kept in Records of a Licensed Firearms Dealer

18 U.S.C. §§ 922(g)(1) and 924(a)(2)
Convicted Felon in Possession of a Firearm

18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)
Forfeiture Notice

3 Counts

 

A true bill rendered

 

\j FOREPERSON

 

DALLAS

Filed in open court this 30th day of August, 2017.

 

Def`endant in Federal Custody since July 5, 2017 - Defendant Darius Fields (1).
Warrant to be Issue _ Laporchya Shavon Polley (2) In State Custody.

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Criminal Case Pending: 3: 17- CR- 0 88 -M

